Case 6:21-cv-02165-CEM-EJK Document 15 Filed 04/14/22 Page 1 of 1 PageID 61




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

JANICE L. ANDUJAR,

                    Plaintiff,

v.                                                 Case No: 6:21-cv-2165-CEM-EJK

ALLY FINANCIAL, INC.,

                    Defendant.


                                     ORDER
      THIS CAUSE is before the Court on the Case Management Report filed by

the parties (Doc. 13). The report indicates that the parties have not yet agreed on a

mediator. Therefore, the parties are directed to confer, and then advise the Court,

on the selection of a mediator, on or before April 28, 2022.

      DONE and ORDERED in Orlando, Florida on April 14, 2022.




Copies furnished to:

Counsel of Record




                                     Page 1 of 1
